       Case 5:19-cv-04286-BLF Document 367 Filed 01/05/23 Page 1 of 5



 1
      Vincent Briganti (pro hac vice)
 2    Christian Levis (pro hac vice)
 3    Margaret MacLean (pro hac vice)
      Andrea Farah (pro hac vice)
 4    LOWEY DANNENBERG, P.C.
      44 South Broadway, Suite 1100
 5    White Plains, NY 10601
      Telephone: (914) 997-0500
 6    vbriganti@lowey.com
 7    clevis@lowey.com
      mmaclean@lowey.com
 8    afarah@lowey.com

 9    Attorneys for Plaintiffs
      ASIF KUMANDAN, MELISSA SPURR,
10    and MELISSA SPURR, as guardian of
      B.S., a minor
11
     [Additional signature on the last page]
12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN JOSE DIVISION
15

16
     IN RE GOOGLE ASSISTANT PRIVACY                Case No. 5:19-cv-04286-BLF
17   LITIGATION
                                                   PLAINTIFFS’ RESPONSE TO ORDER
18                                                 REGARDING MOTION FOR RELIEF
                                                   FROM NONDISPOSITIVE PRETRIAL
19                                                 ORDER

20                                                 Judge: Honorable Beth Labson Freeman
                                                   Dept.: Courtroom 3 – 5th Floor
21

22

23

24

25

26

27

28
              PLAINTIFFS’ RESPONSE TO ORDER REGARDING MOTION FOR RELIEF FROM
                               NONDISPOSITIVE PRETRIAL ORDER
                                  CASE NO. 5:19-CV-04286-BLF
       Case 5:19-cv-04286-BLF Document 367 Filed 01/05/23 Page 2 of 5



 1          In accordance with the Court’s December 16, 2022 Order Regarding Motion for Relief from
 2   Nondispositive Pretrial Order (ECF No. 362) directing the parties to provide briefing on “whether
 3   the scope of the Sampling Order [ECF No. 331] should be revisited by Judge van Keulen in light
 4   of the certification of only the Purchaser Class,” Plaintiffs submit the following response:
 5          No changes to the Sampling Order are needed in light of the Court’s certification of only
 6   the Purchaser Class. This Court can and should proceed directly to ruling on the substance of
 7   Defendants’ motion for relief from the Sampling Order, which is fully briefed. See ECF Nos. 349,
 8   357. The speech log data to be produced under the Sampling Order is directly relevant to the
 9   common question the Court certified for the Purchaser Class: “Whether Google breached [its]
10   promises by surreptitiously recording users’ audio and then subsequently sharing such audio with
11   third parties.” Order on Class Certification (ECF No. 360) at 32. Specifically, the data will
12   demonstrate whether and to what extent Google “surreptitiously record[ed] users’ audio,” by
13   recording users in the absence of a hotword, and whether and to what extent Google “shar[ed] such
14   audio with third parties,” as reflected in the speech log Columns E and Z, indicating the content of
15   users’ communications and whether audio was sent for human review, respectively. See ECF No.
16   245-9, Exhibit 3 to Declaration of Sunita Bali in Support of Google’s Motion for Summary
17   Judgment. As described in Plaintiffs’ prior response to Defendants’ motion for relief from the
18   Sampling Order, production of the entire contents of users’ queries is necessary to accurately
19   determine whether any given audio was recorded without users’ consent. See ECF No. 357 at 4-5.
20          Though the Purchaser Class consists only of those individuals who purchased Google
21   Assistant-enabled devices manufactured by Google itself (as opposed to third parties), Plaintiffs do
22   not believe it is necessary or advisable to modify the Sampling Order to collect only speech log
23   entries from owners of Google-manufactured devices. In crafting the Sampling Order, Magistrate
24   Judge van Keulen heard argument from both parties on whether speech log data should be sampled
25   on a per-day basis or a per-user basis. See Oct. 20, 2022 Hearing Tr. at 12-28. The Court selected
26   the per-day approach based heavily on the difficulty and burden Google represented was associated
27
                                          1
28       PLAINTIFFS’ RESPONSE TO ORDER REGARDING MOTION FOR RELIEF FROM
                          NONDISPOSITIVE PRETRIAL ORDER
                             CASE NO. 5:19-CV-04286-BLF
       Case 5:19-cv-04286-BLF Document 367 Filed 01/05/23 Page 3 of 5



 1   with searching by user. See id. at 12:17-21, 15:18-16:6, 27:11-13. Further, Google has already
 2   begun developing the code necessary to comply with the Sampling Order as originally written. See
 3   ECF No. 352 (Google’s Nov. 10, 2022 status report on compliance with the Sampling Order). Not
 4   only would requiring Google to filter its data to collect only from owners of Google-manufactured
 5   devices increase the burden on Google, it would also unnecessarily delay the production of this
 6   data, in addition to risking having to re-do the sampling later on should the scope of the certified
 7   classes change for any reason (for example, if the Court were to grant Plaintiffs’ motion for leave
 8   to file a renewed class certification motion modifying the definition of the Privacy Class (ECF No.
 9   364). Plaintiffs would be able to perform their own filtering on the data to extract information
10   related specifically to Google-manufactured devices to the extent needed. Accordingly, Plaintiffs
11   respectfully submit that Magistrate Judge van Keulen need not revisit the Sampling Order, which
12   should be enforced as written.
13

14   Dated: January 5, 2023                       /s/ Vincent Briganti
                                                  Vincent Briganti (pro hac vice)
15                                                Christian Levis (pro hac vice)
                                                  Margaret MacLean (pro hac vice)
16                                                Andrea Farah (pro hac vice)
                                                  LOWEY DANNENBERG, P.C.
17                                                44 South Broadway, Suite 1100
                                                  White Plains, NY 10601
18                                                Telephone: (914) 997-0500
                                                  Facsimile: (914) 997-0035
19                                                vbriganti@lowey.com
                                                  clevis@lowey.com
20                                                mmaclean@lowey.com
                                                  afarah@lowey.com
21
                                                  Mark N. Todzo (Bar No. 168389)
22                                                Eric S. Somers (Bar No. 139050)
                                                  LEXINGTON LAW GROUP
23                                                503 Divisadero Street
                                                  San Francisco, CA 94117
24                                                Telephone: (415) 913-7800
                                                  Facsimile: (415) 759-4112
25                                                mtodzo@lexlawgroup.com.
26                                                Joseph P. Guglielmo (pro hac vice)
                                                  Erin Green Comite (pro hac vice)
27
                                          2
28       PLAINTIFFS’ RESPONSE TO ORDER REGARDING MOTION FOR RELIEF FROM
                          NONDISPOSITIVE PRETRIAL ORDER
                             CASE NO. 5:19-CV-04286-BLF
     Case 5:19-cv-04286-BLF Document 367 Filed 01/05/23 Page 4 of 5


                                      SCOTT+SCOTT ATTORNEYS AT LAW LLP
 1                                    The Helmsley Building
                                      230 Park Avenue, 17th Floor
 2                                    New York, NY 10169-1820
                                      Telephone: (212) 223-6444
 3                                    Facsimile: (212) 223-6334
                                      jguglielmo@scott-scott.com
 4                                    ecomite@scott-scott.com
 5                                    John T. Jasnoch (Bar No. 281605)
                                      SCOTT+SCOTT ATTORNEYS AT LAW LLP
 6                                    600 W. Broadway, Suite 3300
                                      San Diego, CA 92101
 7                                    Telephone: (619) 233-4565
                                      Facsimile: (619) 233-0508
 8                                    jjasnoch@scott-scott.com
 9                                    Attorneys for Plaintiffs
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                       3
28    PLAINTIFFS’ RESPONSE TO ORDER REGARDING MOTION FOR RELIEF FROM
                       NONDISPOSITIVE PRETRIAL ORDER
                          CASE NO. 5:19-CV-04286-BLF
      Case 5:19-cv-04286-BLF Document 367 Filed 01/05/23 Page 5 of 5



 1                                 CERTIFICATION
 2           I HEREBY CERTIFY that on January 5, 2023, I caused the foregoing to be
 3   electronically filed with the Clerk of the Court using the CM/ECF system which will send
 4   notification of such filing to the email addresses denoted on the Electronic Mail Notice
 5   List.
 6   Dated: January 5, 2023                             /s/ Margaret MacLean
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28     PLAINTIFFS’ RESPONSE TO ORDER REGARDING MOTION FOR RELIEF FROM
                        NONDISPOSITIVE PRETRIAL ORDER
                           CASE NO. 5:19-CV-04286-BLF
